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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERB DISTRICT OF TEXAS
                                 MARSHALL DIVISION

ROTHSCHILD BROADCAST                  §
DISTRIBUTION SYSTEMS, LLC,            §
                                      §
      Plaintiff,                      §                    Case No: 2:18-cv-00333-RWS
                                      §
vs.                                   §
                                      §
CENTURYLINK, INC.,                    §
                                      §
      Defendant.                      §
_____________________________________ §

                                    MOTION TO DISMISS

       Under Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff Rothschild Broadcast

Distribution Systems, LLC moves the Court to dismiss all of Plaintiff’s claims against

CenturyLink, Inc. with prejudice with each party to bear its own attorneys’ fees and costs.

According to Rule 41(a)(1)(A)(i), an action may be dismissed by the plaintiff without order of

court by filing a notice of dismissal at any time before service by the adverse party of an

answer.     Plaintiff requests that the Court enter the proposed order of dismissal submitted

herewith.

  Dated: April 2, 2019                              Respectfully submitted,

                                                    /s/Jay Johnson
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